Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 1 of 47




                                                                B-3
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 2 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 3 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 4 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 5 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 6 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 7 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 8 of 47
Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 9 of 47
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 10 of 47




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

JARROD B. FOSTER,                            §
on behalf of himself                         §
and all others similarly situated,           §
       Plaintiff,                            §      NO. 2:15-CV-01047-CG-LAM
                                             §
v.                                           §
                                             §
NOVA HARDBANDING, LLC and                    §
KENNETH BROMLEY,                             §
    Defendants.                              §

        PLAINTIFF CHRISTOPHER BELL’S RESPONSES TO DEFENDANT’S
                     FIRST SET OF INTERROGATORIES

       COMES NOW Plaintiff, by and through undersigned counsel, and hereby serves

responses to Defendants’ Interrogatories.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was furnished by E-mail on
July 10, 2016 upon the following as per the service list attached below.

                                             Loren Law Group
                                             100 S. Pine Island Road, Suite 132
                                             Plantation, FL 33324
                                             Phone:         (954)585-4878
                                             Facsimile:     (954)585-4886
                                             E-Mail:        JLoren@Lorenlaw.com




                                             _______________________
                                             James M. Loren, Esquire
                                             Federal Bar No.: 15-222




                                                                                           B-4
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 11 of 47




SERVICE LIST

Dustin N. Slade, Esquire
Slade Law Firm
5101 College Boulevard
Farmington, New Mexico 87402
Phone: 505-566-3705
Fax: 806-780-3800
E-Mail: dslade@sladelawfirm.com
Counsel for Defendants

Fernando M. Bustos, Esquire
Aaron M. Pier, Esquire
Bustos Law Firm, P.C.
1001 Main Street
Suite 501
Lubbock, Texas 79401
Phone: 806-780-3976
Fax: 806-780-3800
E-Mail: fbustos@bustoslawfirm.com
        apier@bustoslasfirm.com
Counsel for Defendants

Andrew T. Apodaca, Esq.
Goldberg & Dohan, LLP
4801 Lang NE, Suite 110
Albuquerque, NM 87109
Office Line: (800) 719-1617
Direct Line: (505) 369-3699
Fax: (888) 272-8822
E-Mail: aapodaca@goldbergdohan.com
Co-Counsel for Plaintiff




                                     2
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 12 of 47




                                    INTERROGATORIES

       1.      Identify each and every individual whom you believe to possess knowledge of

any facts relating to your lawsuit. For each such individual, please provide his or her address

and telephone number and describe what knowledge you believe that individual has that relates

to your lawsuit.

       Response: The only individuals who come to mind are Thomas Bergman

       (Inspector), Derick Torres (Inspector), and Jarrod Foster (Inspector). I do not have

       any contact information for these people, but I know that the have information on

       the work I performed and and hours I worked.

       2.      For each person listed in response to Interrogatory No. 1, list which persons are

known to have given statements, either orally or in writing, about any of Plaintiffs’ claims or

Defendant’s defenses asserted.

       Response: Jarrod Foster.

       3.      Identify any employee, agent or representative of Defendant whether current or

former, with whom you have discussed the subject matter of this lawsuit. For each individual

identified, please provide his or her title (or former title), the dates of the discussion, and the

content or substance of the discussion.

       Response: I spoke to Thomas Bergman in January of 2016. He was able to provide

       me with the pertinent information to contact my attorneys and join the lawsuit.

       4.      Identify any written statement, signed statement, declaration and/or affidavit that

you or anyone acting on your behalf has obtained from any employee, agent, or representative or

of Defendant, whether current or former.




                                                3
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 13 of 47




       Response: Jarrod Foster provided a signed declaration to the court regarding the

       hours worked by drill pipe hands/operators and Defendant’s refusal to pay overtime

       premiums to drill pipe hands/operators.

       5.     Identify each person (other than your attorney) with whom you have discussed the

reason(s) for your claims against the Defendant and/or the circumstances surrounding your

claims against the Defendant. For each such person, state the date of each communication, the

persons present during each communication, and the content or substance of each

communication.

       Response: None.

       6.     Identify each calendar week you claim you worked more than 40 hours per week

while employed by Defendant. For each calendar week you claim you worked more than 40

hours per week, state the facts upon which you base that allegation, including the identification

of any documents you claim support your allegations concerning the hours you have worked.

       Response: I do not recall the specific calendar weeks but I believe I worked

       anywhere from 70 to 90 hours every week I worked for Defendant. There were even

       some weeks I worked as many as 100 hours.

       7.     Identify the amount of money, if any, you are seeking from Defendant in this

action, including the basis for your claim that you are entitled to each such amount, and the

methodology or formula you used to calculate your entitlement to each such amount.

       Response: I believe I am owed $10,153.84 in back wages and liquidated damages.

       This amount is exclusive of my attorney’s fees and costs. As discovery is ongoing,

       this amount is subject to change.




                                               4
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 14 of 47




        8.      Identify each and every document relating to Defendant and/or your employment

with Defendant of which you and/or your attorney have obtained and/or currently possess. For

each document identified, identify how you and/or your attorney came to obtain that document

or have that document in your possession.

        Response: I do not have any documents related to my employment with Defendant.

        9.      Between January 1, 2010 through today, did you have a personal computer,

mobile phone, or other electronic device capable of sending or receiving e-mails, text messages,

data, or documents? If so, identify the make and model of the devices, the operating systems,

software and applications used by the devices, and the carriers or providers that facilitated data

communication services for the devices, and please identify whose possession each computer,

device, etc., currently resides.

        Objection: I have a Samsung S7 smart phone and Apple laptop, but I am not sure of

        the exact make and model, operating systems, software and applications.

        10.     Please identify any documents in your possession, custody or control related to

any of the allegations you raise in your Complaint.

        Response: None.

        11.     Please identify any documents in your possession, custody or control related to

any of your claims for damages.

        Response: None.

        12.     Please list the entities with whom you were employed during the last ten years,

including the name and address of each employer, the position(s) you held with each employer,

the name of your supervisor with each employer, the dates on which you were or have been

employed by each employer, the reason(s) you left the employ of any such employer, your gross,


                                                5
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 15 of 47




weekly compensation (including tips) received as a result of employment with each employer,

and a description of how you were paid (for example, salary basis, hourly wage, commission) by

each employer.

       Objection: Objection, Overbroad, Harassing, irrelevant and not reasonably

       calculated to lead to the discovery of admissible evidence. This is an FLSA case with

       no claim for back or front pay, mitigation of damages is not an issue and as such,

       the information requested serves no legitimate purpose. To add, the time and scope

       of the request is grossly overbroad especially given that the limitations period under

       FLSA is 3 years.

       13.     Have you worked for, provided services to, owned, or volunteered for any other

business, company, sole proprietor, or entity while you were employed by Defendant? If so,

please provide the name, address and telephone number of the employer or entity, state the dates

you worked for, provided services to, owned, or volunteered, and identify the position or job title

you held, if any.

       Response: No.

       14.     Identify each civil lawsuit or legal action (including divorces and bankruptcies) or

administrative legal action in which you have been named as a party or have otherwise been

involved, in any jurisdiction, since attaining the age of eighteen (18), to the present, including the

identities of the parties, the style and number of the case, the court or administrative body in

which the action was or is pending, whether the action is currently pending, and the resolution of

the case.




                                                  6
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 16 of 47




       Response: I failed to timely pay a citation related to a speeding ticket and was

       arrested in Parker County but later resolved the matter. Also I am paying child

       support; I do not have case numbers in these matters.

       15.     Have you ever been arrested or convicted of a crime? If so, please identify any

and all arrests, convictions, pleas, or other disposition of any crime or alleged crime with which

you have been involved.

       Response: See response to #14 above.

       16.     Have you ever prepared a resume, curriculum vitae, job search cover letter, or

description of work experience (including any background information placed upon professional

social networking sites, like LinkedIn) at any time since you began working for Defendant? If

so, identify each such document by stating the nature of the document, the date prepared, date

modified, and to whom the document was sent, if anyone.

       Response: No.

       17.     Describe in detail any communications you have made or received regarding your

claims against Defendant or any defenses to any claims made by you against Defendant. For

each communication, please:

       a)      Describe the form of the communications;

       b)      Identify any parties to the communications;

       c)      State the time and date of the communications;

       d)      State the place of the communications;

       e)      State the substance of the communications;

       f)      Identify any witnesses to the communications;




                                                7
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 17 of 47




       g)        Describe any document or recording in any form which refers or relates to the

                 communications, and identify the custodian and current location of any such

                 document or recording.

       Response: None.

       18.       Did you or any other persons or entities make any non-privileged investigation of

the transactions and circumstances that make the basis of your claims or defenses in this lawsuit?

If so, with regard to each such investigation:

       a.        Identify the person who initially requested that the investigation be undertaken.

       b.        Give the dates on which the investigation was initiated and completed.

       c.        Identify all persons who were responsible for conducting the investigation.

       d.        Identify all persons who did any work whatsoever in connection with the

investigation.

       e.        Identify every person interviewed or contacted in any manner with regard to the

investigation.    If these persons gave a written or recorded statement, identify the current

custodian(s) of the statement or recording. If the communication inquired about was oral, please

state the date and substance of the communication fully and in detail.

       Response: No.

       19.       Identify by name, address, and telephone number all persons or entities that have

possession, custody, or control of documents relevant to your claims and defenses in this suit and

the documents over which they have possession, custody, or control.

       Response: None.




                                                  8
         Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 18 of 47




                                           VERIFICATION

             Pursuant to 28 U.S.C. § 1746, I hereby Declare under the penalty of perjury that the

above interrogatory responses are true and correct and based on personal knowledge.
Christopher V. Bell
Christopher V. Bell (Sep 15, 2016)
_______________________
Plaintiff


Date:___________




                                                  9
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 19 of 47




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

JARROD B. FOSTER,                            §
on behalf of himself                         §
and all others similarly situated,           §
       Plaintiff,                            §      NO. 2:15-CV-01047-CG-LAM
                                             §
v.                                           §
                                             §
NOVA HARDBANDING, LLC and                    §
KENNETH BROMLEY,                             §
    Defendants.                              §

               PLAINTIFF JARROD FOSTER’S RESPONSES TO
              DEFENDANT’S FIRST SET OF INTERROGATORIES

       COMES NOW Plaintiff, by and through undersigned counsel, and hereby serves

responses to Defendants’ Interrogatories.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was furnished by E-mail on
July 10, 2016 upon the following as per the service list attached below.

                                             Loren Law Group
                                             100 S. Pine Island Road, Suite 132
                                             Plantation, FL 33324
                                             Phone:         (954)585-4878
                                             Facsimile:     (954)585-4886
                                             E-Mail:        JLoren@Lorenlaw.com




                                             _______________________
                                             James M. Loren, Esquire
                                             Federal Bar No.: 15-222




                                                                                           B-5
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 20 of 47




SERVICE LIST

Dustin N. Slade, Esquire
Slade Law Firm
5101 College Boulevard
Farmington, New Mexico 87402
Phone: 505-566-3705
Fax: 806-780-3800
E-Mail: dslade@sladelawfirm.com
Counsel for Defendants

Fernando M. Bustos, Esquire
Aaron M. Pier, Esquire
Bustos Law Firm, P.C.
1001 Main Street
Suite 501
Lubbock, Texas 79401
Phone: 806-780-3976
Fax: 806-780-3800
E-Mail: fbustos@bustoslawfirm.com
        apier@bustoslasfirm.com
Counsel for Defendants

Andrew T. Apodaca, Esq.
Goldberg & Dohan, LLP
4801 Lang NE, Suite 110
Albuquerque, NM 87109
Office Line: (800) 719-1617
Direct Line: (505) 369-3699
Fax: (888) 272-8822
E-Mail: aapodaca@goldbergdohan.com
Co-Counsel for Plaintiff




                                     2
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 21 of 47




                                    INTERROGATORIES

       1.      Identify each and every individual whom you believe to possess knowledge of

any facts relating to your lawsuit. For each such individual, please provide his or her address

and telephone number and describe what knowledge you believe that individual has that relates

to your lawsuit.

       Response: The only individuals who come to mind are Noel Aguirre (inspection

helper), Naamon Barkley (Inspector), Christopher Bell (operator/inspector and

supervisor), Thomas Bergman (inspection helper), Clayton Christian (operator), Luther

Dodd III (hardbanding helper), Jordan Emig (inspector), Cody Granado (inspection

helper), Jason Hayes (inspection helper), Daryl Miller (inspector), Bryan Naatz (inspection

helper), Kameron Owens-Hiebert (inspection helper), Kevin Perez (inspection helper),

Michael Schlabach (inspection helper), Kiplagat Soimo (inspector), Derrick Torres

(inspection helper), Robert Wilkins (inspection helper/ inspector), Larry Wilson Jr.

(hardbend helper/truck driver). I do not have any contact information for these people, but

I know that the have information on the work I performed and hours I worked.

       2.      For each person listed in response to Interrogatory No. 1, list which persons are

known to have given statements, either orally or in writing, about any of Plaintiffs’ claims or

Defendant’s defenses asserted.

       Response: None.

       3.      Identify any employee, agent or representative of Defendant whether current or

former, with whom you have discussed the subject matter of this lawsuit. For each individual

identified, please provide his or her title (or former title), the dates of the discussion, and the

content or substance of the discussion.


                                                3
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 22 of 47




       Response: None.

       4.     Identify any written statement, signed statement, declaration and/or affidavit that

you or anyone acting on your behalf has obtained from any employee, agent, or representative or

of Defendant, whether current or former.

       Response: I provided a signed declaration to the court regarding the hours worked

       by drill pipe hands/operators and Defendant’s refusal to pay overtime premiums to

       drill pipe hands/operators.

       5.     Identify each person (other than your attorney) with whom you have discussed the

reason(s) for your claims against the Defendant and/or the circumstances surrounding your

claims against the Defendant. For each such person, state the date of each communication, the

persons present during each communication, and the content or substance of each

communication.

       Response: I spoke to my father and wife around the time I was deciding to join the

       lawsuit. We discussed the substance of the lawsuit and I asked for advice if I should

       proceed with the lawsuit and the consequences it might bring.

       6.     Identify each calendar week you claim you worked more than 40 hours per week

while employed by Defendant. For each calendar week you claim you worked more than 40

hours per week, state the facts upon which you base that allegation, including the identification

of any documents you claim support your allegations concerning the hours you have worked.

       Response: I do not recall the specific calendar weeks, but I believe I worked roughly

       100 hours every week while working for Defendants from on or about November 9,

       2014 through on or about April 12, 2015.




                                               4
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 23 of 47




        7.      Identify the amount of money, if any, you are seeking from Defendant in this

action, including the basis for your claim that you are entitled to each such amount, and the

methodology or formula you used to calculate your entitlement to each such amount.

        Response: I believe I am owed $16,560.001 in back wages and liquidated damages.

        This amount is exclusive of my attorney’s fees and costs. As discovery is ongoing,

        this amount is subject to change.

        8.      Identify each and every document relating to Defendant and/or your employment

with Defendant of which you and/or your attorney have obtained and/or currently possess. For

each document identified, identify how you and/or your attorney came to obtain that document

or have that document in your possession.

        Response: I do not have any documents related to my employment with Defendant.

        9.      Between January 1, 2010 through today, did you have a personal computer,

mobile phone, or other electronic device capable of sending or receiving e-mails, text messages,

data, or documents? If so, identify the make and model of the devices, the operating systems,

software and applications used by the devices, and the carriers or providers that facilitated data

communication services for the devices, and please identify whose possession each computer,

device, etc., currently resides.

        Objection: I have an IPhone 5 smartphone and a dell computer, but I am not sure of

        the exact make and model, operating systems, software and applications.




1

        My salary of $5,200 per month amounts to a regular rate of $12.00 per hour, plus my half
time rate of $6.00 for all hours worked over 40.
                                                 5
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 24 of 47




       10.     Please identify any documents in your possession, custody or control related to

any of the allegations you raise in your Complaint.

       Response: None.

       11.     Please identify any documents in your possession, custody or control related to

any of your claims for damages.

       Response: None.

       12.     Please list the entities with whom you were employed during the last ten years,

including the name and address of each employer, the position(s) you held with each employer,

the name of your supervisor with each employer, the dates on which you were or have been

employed by each employer, the reason(s) you left the employ of any such employer, your gross,

weekly compensation (including tips) received as a result of employment with each employer,

and a description of how you were paid (for example, salary basis, hourly wage, commission) by

each employer.

       Objection: Objection, Overbroad, Harassing, irrelevant and not reasonably

       calculated to lead to the discovery of admissible evidence. This is an FLSA case with

       no claim for back or front pay, mitigation of damages is not an issue and as such,

       the information requested serves no legitimate purpose. To add, the time and scope

       of the request is grossly overbroad especially given that the limitations period under

       FLSA is 3 years.

       13.     Have you worked for, provided services to, owned, or volunteered for any other

business, company, sole proprietor, or entity while you were employed by Defendant? If so,

please provide the name, address and telephone number of the employer or entity, state the dates




                                                6
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 25 of 47




you worked for, provided services to, owned, or volunteered, and identify the position or job title

you held, if any.

       Response: No.

       14.     Identify each civil lawsuit or legal action (including divorces and bankruptcies) or

administrative legal action in which you have been named as a party or have otherwise been

involved, in any jurisdiction, since attaining the age of eighteen (18), to the present, including the

identities of the parties, the style and number of the case, the court or administrative body in

which the action was or is pending, whether the action is currently pending, and the resolution of

the case.

       Response: None.

       15.     Have you ever been arrested or convicted of a crime? If so, please identify any

and all arrests, convictions, pleas, or other disposition of any crime or alleged crime with which

you have been involved.

       Response: None.

       16.     Have you ever prepared a resume, curriculum vitae, job search cover letter, or

description of work experience (including any background information placed upon professional

social networking sites, like LinkedIn) at any time since you began working for Defendant? If

so, identify each such document by stating the nature of the document, the date prepared, date

modified, and to whom the document was sent, if anyone.

       Response: No.

       17.     Describe in detail any communications you have made or received regarding your

claims against Defendant or any defenses to any claims made by you against Defendant. For

each communication, please:


                                                  7
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 26 of 47




       a)        Describe the form of the communications;

       b)        Identify any parties to the communications;

       c)        State the time and date of the communications;

       d)        State the place of the communications;

       e)        State the substance of the communications;

       f)        Identify any witnesses to the communications;

       g)        Describe any document or recording in any form which refers or relates to the

                 communications, and identify the custodian and current location of any such

                 document or recording.

       Response: I would make oral complaints to my supervisors Cody Hunter, Robert

       Nick, Krak Peterson, Josh Bankston, Kim Romley and Scott Romley that the work

       conditions and hours were too much and bonuses were not being paid. I do not

       recall the time, date, and place of such communications.

       18.       Did you or any other persons or entities make any non-privileged investigation of

the transactions and circumstances that make the basis of your claims or defenses in this lawsuit?

If so, with regard to each such investigation:

       a.        Identify the person who initially requested that the investigation be undertaken.

       b.        Give the dates on which the investigation was initiated and completed.

       c.        Identify all persons who were responsible for conducting the investigation.

       d.        Identify all persons who did any work whatsoever in connection with the

investigation.

       e.        Identify every person interviewed or contacted in any manner with regard to the

investigation.    If these persons gave a written or recorded statement, identify the current


                                                  8
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 27 of 47




custodian(s) of the statement or recording. If the communication inquired about was oral, please

state the date and substance of the communication fully and in detail.

       Response: See response to interrogatory response # 17. As far as I am aware, no

 investigation was ever initiated.

       19.     Identify by name, address, and telephone number all persons or entities that have

possession, custody, or control of documents relevant to your claims and defenses in this suit and

the documents over which they have possession, custody, or control.

       Response: None.




                                                9
       Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 28 of 47




                                          VERIFICATION

            Pursuant to 28 U.S.C. § 1746, I hereby Declare under the penalty of perjury that the

above interrogatory responses are true and correct and based on personal knowledge.

 Jarrod Blaine Foster (Jul 31, 2016)
_______________________
Plaintiff


Date:___________




                                                 10
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 29 of 47




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

JARROD B. FOSTER,                            §
on behalf of himself                         §
and all others similarly situated,           §
       Plaintiff,                            §      NO. 2:15-CV-01047-CG-LAM
                                             §
v.                                           §
                                             §
NOVA HARDBANDING, LLC and                    §
KENNETH BROMLEY,                             §
    Defendants.                              §

          PLAINTIFF MATEO QUINONES’ RESPONSES TO DEFENDANT’S
                     FIRST SET OF INTERROGATORIES

       COMES NOW Plaintiff, by and through undersigned counsel, and hereby serves

responses to Defendants’ Interrogatories.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was furnished by E-mail on
July 10, 2016 upon the following as per the service list attached below.

                                             Loren Law Group
                                             100 S. Pine Island Road, Suite 132
                                             Plantation, FL 33324
                                             Phone:         (954)585-4878
                                             Facsimile:     (954)585-4886
                                             E-Mail:        JLoren@Lorenlaw.com




                                             _______________________
                                             James M. Loren, Esquire
                                             Federal Bar No.: 15-222




                                                                                           B-6
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 30 of 47




SERVICE LIST

Dustin N. Slade, Esquire
Slade Law Firm
5101 College Boulevard
Farmington, New Mexico 87402
Phone: 505-566-3705
Fax: 806-780-3800
E-Mail: dslade@sladelawfirm.com
Counsel for Defendants

Fernando M. Bustos, Esquire
Aaron M. Pier, Esquire
Bustos Law Firm, P.C.
1001 Main Street
Suite 501
Lubbock, Texas 79401
Phone: 806-780-3976
Fax: 806-780-3800
E-Mail: fbustos@bustoslawfirm.com
        apier@bustoslasfirm.com
Counsel for Defendants

Andrew T. Apodaca, Esq.
Goldberg & Dohan, LLP
4801 Lang NE, Suite 110
Albuquerque, NM 87109
Office Line: (800) 719-1617
Direct Line: (505) 369-3699
Fax: (888) 272-8822
E-Mail: aapodaca@goldbergdohan.com
Co-Counsel for Plaintiff




                                     2
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 31 of 47




                                    INTERROGATORIES

       1.      Identify each and every individual whom you believe to possess knowledge of

any facts relating to your lawsuit. For each such individual, please provide his or her address

and telephone number and describe what knowledge you believe that individual has that relates

to your lawsuit.

       Response: The only individuals who come to mind are Mark Gavel, Juan Corral,

       Joe Missler, Joseph Brownlee, Shane Perini, Jarod Foster, Larry Wilson, Jesse

       Weatherford, Adrian, Brian Alexander, Mike Etheridge, Cesar Almaguez, Robert

       (unknown last ), Haytea Conner, and Antonio (unknown last name) . I do not have

       any contact information for these people, but I know that they have information on

       the work I performed and hours I worked.

       2.      For each person listed in response to Interrogatory No. 1, list which persons are

known to have given statements, either orally or in writing, about any of Plaintiffs’ claims or

Defendant’s defenses asserted.

       Response: None.

       3.      Identify any employee, agent or representative of Defendant whether current or

former, with whom you have discussed the subject matter of this lawsuit. For each individual

identified, please provide his or her title (or former title), the dates of the discussion, and the

content or substance of the discussion.

       Response: I spoke to Mark Gavel, Juan Corral, and Joseph Missler on or about

       sometime in June or July of 2016. We were curious about what each individual

       believes this lawsuit might turn out to be once it is over.




                                                3
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 32 of 47




       4.     Identify any written statement, signed statement, declaration and/or affidavit that

you or anyone acting on your behalf has obtained from any employee, agent, or representative or

of Defendant, whether current or former.

       Response: Jarrod Foster provided a signed declaration to the court regarding the

       hours worked by drill pipe hands/operators and Defendant’s refusal to pay overtime

       premiums to drill pipe hands/operators.

       5.     Identify each person (other than your attorney) with whom you have discussed the

reason(s) for your claims against the Defendant and/or the circumstances surrounding your

claims against the Defendant. For each such person, state the date of each communication, the

persons present during each communication, and the content or substance of each

communication.

       Response: None.

       6.     Identify each calendar week you claim you worked more than 40 hours per week

while employed by Defendant. For each calendar week you claim you worked more than 40

hours per week, state the facts upon which you base that allegation, including the identification

of any documents you claim support your allegations concerning the hours you have worked.

       Response: I do not recall the specific calendar weeks but I believe I worked

       anywhere from 60 to 80 hours per week while working for defendant.

       7.     Identify the amount of money, if any, you are seeking from Defendant in this

action, including the basis for your claim that you are entitled to each such amount, and the

methodology or formula you used to calculate your entitlement to each such amount.




                                               4
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 33 of 47




        Response: I believe I am owed $39,115.511 in back wages and liquidated damages.

        This amount is exclusive of my attorney’s fees and costs. As discovery is ongoing,

        this amount is subject to change.

        8.      Identify each and every document relating to Defendant and/or your employment

with Defendant of which you and/or your attorney have obtained and/or currently possess. For

each document identified, identify how you and/or your attorney came to obtain that document

or have that document in your possession.

        Response: I do not have any documents related to my employment with Defendant.

        9.      Between January 1, 2010 through today, did you have a personal computer,

mobile phone, or other electronic device capable of sending or receiving e-mails, text messages,

data, or documents? If so, identify the make and model of the devices, the operating systems,

software and applications used by the devices, and the carriers or providers that facilitated data

communication services for the devices, and please identify whose possession each computer,

device, etc., currently resides.

        Objection: I have a LG Grand Prime smartphone, but I am not sure of the exact

        make and model, operating systems, software and applications.

        10.     Please identify any documents in your possession, custody or control related to

any of the allegations you raise in your Complaint.

        Response: None.

        11.     Please identify any documents in your possession, custody or control related to

any of your claims for damages.



1

        My salary of $3,000 per month amounts to a regular rate of $8.65 per hour, plus my half
time rate of $4.33 for all hours worked over 40.
                                                 5
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 34 of 47




       Response: None.

       12.     Please list the entities with whom you were employed during the last ten years,

including the name and address of each employer, the position(s) you held with each employer,

the name of your supervisor with each employer, the dates on which you were or have been

employed by each employer, the reason(s) you left the employ of any such employer, your gross,

weekly compensation (including tips) received as a result of employment with each employer,

and a description of how you were paid (for example, salary basis, hourly wage, commission) by

each employer.

       Objection: Objection, Overbroad, Harassing, irrelevant and not reasonably

       calculated to lead to the discovery of admissible evidence. This is an FLSA case with

       no claim for back or front pay, mitigation of damages is not an issue and as such,

       the information requested serves no legitimate purpose. To add, the time and scope

       of the request is grossly overbroad especially given that the limitations period under

       FLSA is 3 years.

       13.     Have you worked for, provided services to, owned, or volunteered for any other

business, company, sole proprietor, or entity while you were employed by Defendant? If so,

please provide the name, address and telephone number of the employer or entity, state the dates

you worked for, provided services to, owned, or volunteered, and identify the position or job title

you held, if any.

       Response: No.

       14.     Identify each civil lawsuit or legal action (including divorces and bankruptcies) or

administrative legal action in which you have been named as a party or have otherwise been

involved, in any jurisdiction, since attaining the age of eighteen (18), to the present, including the


                                                  6
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 35 of 47




identities of the parties, the style and number of the case, the court or administrative body in

which the action was or is pending, whether the action is currently pending, and the resolution of

the case.

       Response: None.

       15.     Have you ever been arrested or convicted of a crime? If so, please identify any

and all arrests, convictions, pleas, or other disposition of any crime or alleged crime with which

you have been involved.

       Response: None.

       16.     Have you ever prepared a resume, curriculum vitae, job search cover letter, or

description of work experience (including any background information placed upon professional

social networking sites, like LinkedIn) at any time since you began working for Defendant? If

so, identify each such document by stating the nature of the document, the date prepared, date

modified, and to whom the document was sent, if anyone.

       Response: No.

       17.     Describe in detail any communications you have made or received regarding your

claims against Defendant or any defenses to any claims made by you against Defendant. For

each communication, please:

       a)      Describe the form of the communications;

       b)      Identify any parties to the communications;

       c)      State the time and date of the communications;

       d)      State the place of the communications;

       e)      State the substance of the communications;

       f)      Identify any witnesses to the communications;


                                                7
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 36 of 47




       g)        Describe any document or recording in any form which refers or relates to the

                 communications, and identify the custodian and current location of any such

                 document or recording.

       Response: I would make oral complaints to my supervisors Dakota (unknown last

       name), and Cody Hunter that the work conditions and hours were too much and

       bonuses were not being paid. They never started an investigation based on my

       complaints.

       18.       Did you or any other persons or entities make any non-privileged investigation of

the transactions and circumstances that make the basis of your claims or defenses in this lawsuit?

If so, with regard to each such investigation:

       a.        Identify the person who initially requested that the investigation be undertaken.

       b.        Give the dates on which the investigation was initiated and completed.

       c.        Identify all persons who were responsible for conducting the investigation.

       d.        Identify all persons who did any work whatsoever in connection with the

investigation.

       e.        Identify every person interviewed or contacted in any manner with regard to the

investigation.    If these persons gave a written or recorded statement, identify the current

custodian(s) of the statement or recording. If the communication inquired about was oral, please

state the date and substance of the communication fully and in detail.

       Response: See response to interrogatory response # 17.




                                                  8
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 37 of 47




       19.     Identify by name, address, and telephone number all persons or entities that have

possession, custody, or control of documents relevant to your claims and defenses in this suit and

the documents over which they have possession, custody, or control.

       Response: None.




                                                9
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 38 of 47




                                       VERIFICATION

       Pursuant to 28 U.S.C. § 1746, I hereby Declare under the penalty of perjury that the

above interrogatory responses are true and correct and based on personal knowledge.


_______________________
Plaintiff


Date:___________




                                              10
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 39 of 47




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

JARROD B. FOSTER,                            §
on behalf of himself                         §
and all others similarly situated,           §
       Plaintiff,                            §      NO. 2:15-CV-01047-CG-LAM
                                             §
v.                                           §
                                             §
NOVA HARDBANDING, LLC and                    §
KENNETH BROMLEY,                             §
    Defendants.                              §

               PLAINTIFF CODY GRANADO’S RESPONSES TO
              DEFENDANT’S FIRST SET OF INTERROGATORIES

       COMES NOW Plaintiff, by and through undersigned counsel, and hereby serves

responses to Defendants’ Interrogatories.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was furnished by E-mail on
July 14, 2016 upon the following as per the service list attached below.

                                             Loren Law Group
                                             100 S. Pine Island Road, Suite 132
                                             Plantation, FL 33324
                                             Phone:         (954)585-4878
                                             Facsimile:     (954)585-4886
                                             E-Mail:        JLoren@Lorenlaw.com




                                             _______________________
                                             James M. Loren, Esquire
                                             Federal Bar No.: 15-222




                                                                                           B-7
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 40 of 47




SERVICE LIST

Dustin N. Slade, Esquire
Slade Law Firm
5101 College Boulevard
Farmington, New Mexico 87402
Phone: 505-566-3705
Fax: 806-780-3800
E-Mail: dslade@sladelawfirm.com
Counsel for Defendants

Fernando M. Bustos, Esquire
Aaron M. Pier, Esquire
Bustos Law Firm, P.C.
1001 Main Street
Suite 501
Lubbock, Texas 79401
Phone: 806-780-3976
Fax: 806-780-3800
E-Mail: fbustos@bustoslawfirm.com
        apier@bustoslasfirm.com
Counsel for Defendants

Andrew T. Apodaca, Esq.
Goldberg & Dohan, LLP
4801 Lang NE, Suite 110
Albuquerque, NM 87109
Office Line: (800) 719-1617
Direct Line: (505) 369-3699
Fax: (888) 272-8822
E-Mail: aapodaca@goldbergdohan.com
Co-Counsel for Plaintiff




                                     2
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 41 of 47




                                    INTERROGATORIES

       1.      Identify each and every individual whom you believe to possess knowledge of

any facts relating to your lawsuit. For each such individual, please provide his or her address

and telephone number and describe what knowledge you believe that individual has that relates

to your lawsuit.

       Response: The only individuals who come to mind are Jarrod Foster (Manager) and

       Thomas Bergman (Hand Technician). I do not have any contact information for

       these people, but I know that they have information on the inspections I performed,

       how I cleaned the pipes using chemicals, and hours I worked.

       2.      For each person listed in response to Interrogatory No. 1, list which persons are

known to have given statements, either orally or in writing, about any of Plaintiffs’ claims or

Defendant’s defenses asserted.

       Response: Jarrod Foster.

       3.      Identify any employee, agent or representative of Defendant whether current or

former, with whom you have discussed the subject matter of this lawsuit. For each individual

identified, please provide his or her title (or former title), the dates of the discussion, and the

content or substance of the discussion.

       Response: None.

       4.      Identify any written statement, signed statement, declaration and/or affidavit that

you or anyone acting on your behalf has obtained from any employee, agent, or representative or

of Defendant, whether current or former.




                                                3
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 42 of 47




       Response: Jarrod Foster provided a signed declaration to the court regarding the

       hours worked by drill pipe hands/operators and Defendant’s refusal to pay overtime

       premiums to drill pipe hands/operators.

       5.     Identify each person (other than your attorney) with whom you have discussed the

reason(s) for your claims against the Defendant and/or the circumstances surrounding your

claims against the Defendant. For each such person, state the date of each communication, the

persons present during each communication, and the content or substance of each

communication.

       Response: None.

       6.     Identify each calendar week you claim you worked more than 40 hours per week

while employed by Defendant. For each calendar week you claim you worked more than 40

hours per week, state the facts upon which you base that allegation, including the identification

of any documents you claim support your allegations concerning the hours you have worked.

       Response: I do not recall the specific calendar weeks but I believe I worked roughly

       90 to 105 hours every week while working for Defendant.

       7.     Identify the amount of money, if any, you are seeking from Defendant in this

action, including the basis for your claim that you are entitled to each such amount, and the

methodology or formula you used to calculate your entitlement to each such amount.

       Response: I believe I am owed $46,310.001 in back wages and liquidated damages.

       This amount is exclusive of my attorney’s fees and costs. As discovery is ongoing,

       this amount is subject to change.



1
  My salary of $2,400 per month amounts to a regular rate of $6.58 per hour, plus my half time
rate of $3.63 for all hours worked over 40. This calculation takes into account the difference
between my regular rate and the minimum wage as well
                                                 4
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 43 of 47




        8.      Identify each and every document relating to Defendant and/or your employment

with Defendant of which you and/or your attorney have obtained and/or currently possess. For

each document identified, identify how you and/or your attorney came to obtain that document

or have that document in your possession.

        Response: I believe I still have some paystubs related to my employment with

        Defendant.

        9.      Between January 1, 2010 through today, did you have a personal computer,

mobile phone, or other electronic device capable of sending or receiving e-mails, text messages,

data, or documents? If so, identify the make and model of the devices, the operating systems,

software and applications used by the devices, and the carriers or providers that facilitated data

communication services for the devices, and please identify whose possession each computer,

device, etc., currently resides.

        Objection: I have a Samsung Galaxy S7 Edge smarthone, but I am not sure of the

        exact make and model, operating systems, software and applications.

        10.     Please identify any documents in your possession, custody or control related to

any of the allegations you raise in your Complaint.

        Response: I believe I still have some paystubs.

        11.     Please identify any documents in your possession, custody or control related to

any of your claims for damages.

        Response: I believe I still have some paystubs.

        12.     Please list the entities with whom you were employed during the last ten years,

including the name and address of each employer, the position(s) you held with each employer,

the name of your supervisor with each employer, the dates on which you were or have been


                                                5
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 44 of 47




employed by each employer, the reason(s) you left the employ of any such employer, your gross,

weekly compensation (including tips) received as a result of employment with each employer,

and a description of how you were paid (for example, salary basis, hourly wage, commission) by

each employer.

       Objection: Objection, Overbroad, Harassing, irrelevant and not reasonably

       calculated to lead to the discovery of admissible evidence. This is an FLSA case with

       no claim for back or front pay, mitigation of damages is not an issue and as such,

       the information requested serves no legitimate purpose. To add, the time and scope

       of the request is grossly overbroad especially given that the limitations period under

       FLSA is 3 years.

       13.     Have you worked for, provided services to, owned, or volunteered for any other

business, company, sole proprietor, or entity while you were employed by Defendant? If so,

please provide the name, address and telephone number of the employer or entity, state the dates

you worked for, provided services to, owned, or volunteered, and identify the position or job title

you held, if any.

       Response: No.

       14.     Identify each civil lawsuit or legal action (including divorces and bankruptcies) or

administrative legal action in which you have been named as a party or have otherwise been

involved, in any jurisdiction, since attaining the age of eighteen (18), to the present, including the

identities of the parties, the style and number of the case, the court or administrative body in

which the action was or is pending, whether the action is currently pending, and the resolution of

the case.




                                                  6
    Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 45 of 47




       Response: I am involved in my divorce in the court of Lovington, New Mexico. This

       has not been resolved, and I do not have the case number in this matter.

       15.     Have you ever been arrested or convicted of a crime? If so, please identify any

and all arrests, convictions, pleas, or other disposition of any crime or alleged crime with which

you have been involved.

       Response: No.

       16.     Have you ever prepared a resume, curriculum vitae, job search cover letter, or

description of work experience (including any background information placed upon professional

social networking sites, like LinkedIn) at any time since you began working for Defendant? If

so, identify each such document by stating the nature of the document, the date prepared, date

modified, and to whom the document was sent, if anyone.

       Response: No.

       17.     Describe in detail any communications you have made or received regarding your

claims against Defendant or any defenses to any claims made by you against Defendant. For

each communication, please:

       a)      Describe the form of the communications;

       b)      Identify any parties to the communications;

       c)      State the time and date of the communications;

       d)      State the place of the communications;

       e)      State the substance of the communications;

       f)      Identify any witnesses to the communications;




                                                7
     Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 46 of 47




       g)        Describe any document or recording in any form which refers or relates to the

                 communications, and identify the custodian and current location of any such

                 document or recording.

       Response: None.

       18.       Did you or any other persons or entities make any non-privileged investigation of

the transactions and circumstances that make the basis of your claims or defenses in this lawsuit?

If so, with regard to each such investigation:

       a.        Identify the person who initially requested that the investigation be undertaken.

       b.        Give the dates on which the investigation was initiated and completed.

       c.        Identify all persons who were responsible for conducting the investigation.

       d.        Identify all persons who did any work whatsoever in connection with the

investigation.

       e.        Identify every person interviewed or contacted in any manner with regard to the

investigation.    If these persons gave a written or recorded statement, identify the current

custodian(s) of the statement or recording. If the communication inquired about was oral, please

state the date and substance of the communication fully and in detail.

       Response: See response to interrogatory response # 17.

       19.       Identify by name, address, and telephone number all persons or entities that have

possession, custody, or control of documents relevant to your claims and defenses in this suit and

the documents over which they have possession, custody, or control.

       Response: None.




                                                  8
       Case 2:15-cv-01047-CG-KRS Document 84-2 Filed 11/04/16 Page 47 of 47




                                          VERIFICATION

            Pursuant to 28 U.S.C. § 1746, I hereby Declare under the penalty of perjury that the

above interrogatory responses are true and correct and based on personal knowledge.

Cody Granado (Jul 18, 2016)
_______________________
Plaintiff


Date:___________




                                                 9
